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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 THE TRUSTEES OF PRINCETON
 UNIVERSITY,

                Plaintiff,
                                                     Case No. 1:17-cv-00485 (TSC)
 v.

 U.S. DEPARTMENT OF EDUCATION,
 U.S. DEPARTMENT OF EDUCATION,
 OFFICE FOR CIVIL RIGHTS,

                Defendants,

 and

 STUDENTS FOR FAIR ADMISSIONS,
 INC.,

                Defendant-Intervenor.


                                     [PROPOSED] ORDER

       Upon consideration of Defendants’ Combined Opposition to Defendant-Intervenor’s

Motion to Supplement the Administrative Record and Unopposed Motion for Voluntary Remand

and Stay, and for good cause shown, the Court hereby GRANTS Defendants’ Motion. The

Court DIRECTS Defendants to file a status report within 60 days of the date of this order, and

then every 30 days thereafter until the remand proceedings are finished, indicating the status of

those proceedings. The Court STAYS this consolidated action pending remand proceedings

until Defendants notify the Court that they have made their determinations as to whether the

documents that Plaintiff challenges are exempt from production. The Court DENIES

Defendant-Intervenor’s motion to supplement the administrative record as moot.




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Dated: ________________            ________________________________
                                   TANYA CHUTKAN
                                   UNITED STATES DISTRICT JUDGE




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